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                             Exhibit “A”
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                           IN THE UNITED STATES BANKRUPTCY COURT
                              EASTERN DISTRICT OF PENNSYLVANIA


    In re:
                                                             Chapter 7
    FINANCIAL BUSINESS AND CONSUMER
    SOLUTIONS, INC.1                                         Case No. 24-13029 (AMC)

                     Debtor.


                      CERTIFICATION OF JEFFREY OSTROW IN SUPPORT
                         OF ADMISSION TO PRACTICE PRO HAC VICE
             I, Jeffrey Ostrow, hereby certify as follows:

             1.     I am Managing Member of Kopelowitz Ostrow Ferguson Weiselberg Gilbert and

maintain my principal office at 1 West Las Olas, Suite 500, Fort Lauderdale, FL 33301.

             2.     I am a member in good standing of the Bars of the State of Florida and the District

of Columbia.

             3.     There are no disciplinary proceedings pending against me in any jurisdiction.

             4.     I have access to a copy of the Local Rules of the United States Bankruptcy Court

for the Eastern District of Pennsylvania (the “Local Bankruptcy Rules”) and am generally familiar

with such Rules.

             5.     I am seeking admission pro hac vice to practice before this Court for the purpose

of appearing as Counsel for certain class-action plaintiffs in the above- captioned bankruptcy case

pursuant to Local Bankruptcy Rule 2090-1(b).




1
     The last four (4) numbers of the Debtor’s Federal Employer Identification Number are 1430.
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      6.      I certify under penalty of perjury that the foregoing is true and correct.



 Dated: September 17, 2024
        Fort Lauderdale, FL
                                              /s/ Jeffrey Ostrow
                                              Jeffrey Ostrow
                                              Kopelowitz Ostrow Ferguson Weiselberg Gilbert
                                              1 West Las Olas, Suite 500
                                              Fort Lauderdale, FL 33301
                                              Phone: 954-525-4100
                                              Email: ostrow@kolawyers.com




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